Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 1of9

 

 

Monthly Operating Report

Accrual Basis

CASE NAME: Rincon Island Limited

CASE NUMBER: _ 16-33174-hdh-11

 

JUDGE:
UNITED STATES BANKRUPTCY COURT

NORTHERN & EASTERN DISTRICTS OF TEXAS
REGION 6

MONTHLY OPERATING REPORT

MONTH ENDING: October 2017

MONTH YEAR

IN ACCORDANCE WITH TITLE 28, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER
PENALTY OF PERJURY THAT 1 HAVE EXAMINED THE FOLLOWING MONTHLY OPERATING REPORT
{ACCRUAL BASIS-1 THROUGH ACCRUAL BASIS-7) AND THE ACCOMPANYING ATTACHMENTS AND,
TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.
DECLARATION OF THE PREPARER (OTHER THAN RESPONSIBLE PARTY)IS BASED ON ALL
INEORMATION OF WHICH PREPARER HAS ANY KNOWLEDGE,

we O—

 

 

 

ORIGINAL SIGNATURE OF RESPONSIBLE PARTY TITLE
Jason Searcy far Jf- / 7
PRINTED NAME OF RESPONSIBLE PARTY DATE
PREPARER;

Bpke CLA
ORIGINAL SIGNATURE OF PREPARER TITLE
Robert W. Peddy, CPA i } Be / i7

 

PRINTED NAME OF PREPARER DATE

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 2 of 9

 

 

Monthly Operating Report

Accrual Basis - 1

 

CASE NAME: Rincon Island Limited Partnership

 

 

 

CASE NUMBER: _ 16-33174-hdb-11

 

 

COMPARATIVE BALANCE SHEET

 

SCHEDULE
AMOUNT September 2017 | October 2017

 

 

 

66,774 303,062 1$ 116,880.

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|. UNRESTRICTED CASH 13,968

2, RESTRICTED CASH

3, TOTAL CASH $ 13,968 | $ 66,774 | $ 203,062 | $ 116,880
4. ACCOUNTS RECEIVABLE (NET) $ 17,978 | $ 36,943 | $ 23,363
5, INVENTORY

6. NOTES RECEIVABLE

7, PREPAID EXEPNSES

8, OTHER (ATTACH LIST)

9. TOTAL CURRENT ASSETS $ 84,752 | $ 240,005 | $ 140,244
10. PROPERTY, PLANT & EQUIPMENT $ 19,036,130 | $ 20,277,709 |$ 20,277,709 1 $ — 20,277,709
11. LESS: ACCUMULATED DEPRECIATION DH $ (1,032,906)| $ _ (1,056,084)| $ _(1,056,084)/ $ (1,056,084)
12. NET PROPERTY, PLANT & EQUIPMENT $ 18,003,224 | $ 19,221,625 | $ 19,221,625] § 19,221,625
13. DUE FROM INSIDERS

14. OTHER ASSETS - NET OF AMORTIZATION

(ATTACH LIST)

15, OTHER (ATTACH LIST) $ 4,232,469 |$ 4,351,606/$  4,351,606|$ 4,351,606
16, TOTAL ASSETS _ $ 22,235,693 | $ 23,657,983 | $ 23,813,236 |$ 23,713,475

 

 
    
    
 
  
   

     

 

406,522 | $ 406,522

387,360 | $
$ .
$
$

17, ACCOUNTS PAYABLE
18. TAXES PAYABLE

19. NOTES PAYABLE

20. PROFESSIONAL FEES
31. SECURED DEBT

22. OTHER (ATTACH LIST)

23. TOTAL POSTPETITION LIABILITIES

 

 

 

 

927,456 | $ 927,456

 

 

$

$ -

$ 927,456
$

 

 

 

 

$ 30,584,453 | $ 30,754,935 | $30,843,783
31,899,269 32,088,913 32,177,761

 

 

     
 

 

 

 

 

 

 

 

24, SECURED DEBT $ 162,255,970 | $ 162,255,970 | $ 162,255,970] $ 162,255,970
25. PRIORITY DEBT $ 9,016 | $ 9,016 | $ 9,016 | $ 9,016
36. UNSECURED DEBT $ 2,169,364) $ 2,145,607 | $ 2,145,607 |$ 2,145,607
27. OTHER (ATTACH LIST) $ 20,643,711 | $ 20,643,71L | $ 20,643,711 | $ 20,643,711
28, TOTAL PREPETITION LIABILITIES $ 185,078,061 | $ 185,054,304} $ 185,054,304 | $ 185,054,304
29, TOTAL LIABILITES $ 185,078,061 |$ 216,953,573 | $ 217,143,217 | $ 217,232,065

 

30. PREPETITION OWNERS" EQUITY

 

 

(162,828,400)] $ (£62,828,400)| $ (162,828,400)

 

 

31.POSTPETITION CUMULATIVE PROFIT OR (LOSS) (12,490,619)[ $ (42,525,010) $ (22,713,619)
32. DIRECT CHARGES TO EQUITY (ATTACH
EXPLANATION)

33. TOTAL EQUITY

34. TOTAL LIABILITIES & OWNERS' EQUITY

 

 

(17,976,571), $ (17,976,571)1 § (17,976,571)
(193,295,5903| $ (193,329,981}] $ (193,518,590)
23,657,983 | $ 23,813,236 | $ 23,713,475

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 3 of 9

 

 

Monthly Operating Report

Accrual Basis - 2

 

CASE NAM Rincon Istand Limited Partnership

 

  

 

 

CASE NUMBER: 16-33174-hdh-11

 

 

INCOME STATEMENT

 

August 2017 | September 2017 | October 2017

 

 

 

 

 

     

 

I. GROSS REVENUES $ 12,481 | $ 13,249 | $ 18,229
2. LESS: RETURNS & DISCOUNTS
3. NET REVENUE $ $ $

 

 

4. MATERIAL

5. DIRECT LABOR.

6. DIRECT OVERHEAD

7, TOTAL COST OF GOODS SOLD
8. GROSS PROFIT

 

 

 

 

        

 

 

 

9, OFFICER/INSIDER COMPENSATION

 

10, SELLING & MARKETING
11. GENERAL & ADMINISTRATIVE $ 134,358 | $ 46,014 | $ 211,834

 

 

12, RENT & LEASE
13, OTHER (ATTACH LIST)

 

 

 

14, TOTAL OPERATING EXPENSES $ 134,358 | $ 46,014 | $ 211,834
15, INCOME BEFORE NON-OPERATING INCOME &
EXPENSES $ (121,877}| 3 (32,765)] $ (193,605)

 

      

 

   

 

 

 

GiER NCOMEMENTENGES
16. NGN-OPERATING INCOME (ATTACH LIST) 3,311 - $ 6,623
17. NON-OPERATING EXPENSE (ATTACH LIST)

18. INTEREST EXPENSE $ “ $ - $ -
19, DEPRECIATION/DEPLETION $ - $ - 3 -

 

20, AMORTIZATION
21, OTHER (ATTACH LIST)
22. NET OTHER INCOME & EXPENSES

 

 

      

 

 

 

23, PROFESSIONAL FEES
24, U.S, TRUSTEE FEES $ (1,625}| $ (1,627)
25, OTHER (ATTACH LIST)

26. TOTAL REORGANZTION EXPENSES
27, INCOME TAX

28. NET PROFIT (LOSS) $ (118,565}| 5 (34,390)| $ (188,609)

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 4of9

 

 

Monthly Operating Report

Accrual Basis - 3

 

   

Rincon Island Limited Partnership

  

 

 

CASENUMBER:  16-33174-hdh-11

 

 

CASH RECEIPTS AND DISBURSEMENTS August 2017 | September 2017 October 2017 Quarter
i. CASH - BEGINNING OF MONTH $ 5,637 | $ 66,774 | $ 203,062

 

   

 

 

 

 

 

 

 

3. PREPETITION $ =
4. POSTPETITION $ 10,163 | $ : $ 38,332 | $ 48,495
§. TOTAL OPERATING RECEIPTS $ 10,163 | $ - $ 38,332 | $ 48,495

 

   

 

 

 

 

 

 

NONUPERATING RECEIPT HH uu ae
6. LOANS & ADVANCES (ATTACH LIST) $ 185,263 | $ 157,414 | $ $2,324 | $ 425,001
7. SALE OF ASSETS $ -

8. OTHER (ATTACH LIST) $ 3,958 | $ ~ $ 6,623 | $ 10,581
9. TOTAL NON-OPERATING RECEIPTS $ 189,221 | $ 157,414 | $ $8,947 | $ 435,582
10. TOTAL RECEIPTS $ 199,384 | $ 157,414 | $ 127,279 | § 484,077
1k. TOTAL CASH AVAILABLE $ 205,021 | $ 224,188 | $ 330,341 |

 

759,550

   

 

20,906

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12. NET PAYROLL $ 8,206 | $ 7015

13. PAYROLL TAXES PAID $ 8,248 | $ - $ 8,248
i4. BANK CHARGES $ 45 | $ 25 | 4 266
15, CONTRACT OPERATING SERVICES $ 81,748 | $ 205,064 | $ 286,812
16, DIRECT MARKETING SERVICES $ 40,000 | $ = $ 40,000
17, PERMITS $ - $ 6,675 | $ 13,350
18. INVENTORY PURCHASES $ =
19. VEHICLE EXPENSES $ :
20, TRAVEL $ -
21. ENTERTAINMENT $ :
22, REPAIRS & MAINTENANCE $ -
23, SUPPLIES $ :
24. LOANS & ADVANCES $ :
25. OTHER (ATTACH LIST) $ : $ = $ - $ -
26. TOTAL OPERATING DISBURSEMENTS $ 138,247 | $ 19,501 | $ 211,834 | $ 369,582
REORGANIZATION EXPENSES:
27. PROFESSIONAL FRES $ -
28. U.S. TRUSTEE FEES $ 1,625 | $ 1,627 | $ 3,252
29. OTHER (ATTACH LIST) $ -
30. TOTAL REORGANIZATION EXPENSES $ : $ 1,625 | $ 1,627 | $ 3,252
31. TOTAL DISBURSEMENTS $ 138,247 1 $ 21,126 | $ 213,461 | $ 372,834
32. NET CASH FLOW $ 61,137 | $ 137,913 | $ (84,555)| $ 114,495
33. CASH - END OF MONTH $ 66,774 | $ 203,062 | $ 116,880 | $ 386,716

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 5of9

 

 

Monthly Operating Report

Accrual Basis - 4

 

 

CASE NAME: Rincon Island Limited Partnership

 

CASE NUMBER: 16-33174-hdh-11

 

 

 

MONTH: October

 

ACCOUNTS RECEIVABLE AGING

 

SCHEDULE August 2017 September 2017 October 2017
AMOUNT
0-30 $ 17,978 1 $ 36,943 | $ 23,363
. 31-60
61 - 90
91+

. TOTAL ACCOUNTS RECEIVABLE $ - $ 17,978 | $ 36,943 4 § 23,363
. AMOUNT CONSIDERED UNCOLLECTIBLE
. ACCOUNTS RECEIVABLE (NET} $ : $ 17,978 | $ 36,943 | $ 23,363

 

 

 

 

 

 

 

 

aA S Se

 

 

 

 

AGING OF POSTPETITION TAXES
AND PAYABLES 0-30 31-60 61-90 90+ Total
TAXES PAYABLE DAYS DAYS DAYS DAYS
. FEDERAL $ .
. STATE $ :
LOCAL

. OTHER (ATTACH LIST)
. TOTAL TAXES PAYABLE $ : $ : $ - $ "

 

 

 

 

 

 

 

 

 

 

 

 

 

| Be oe
64 | o4[ 60/46/48
'

 

 

[6. ACCOUNTS PAYABLE -— | 19,162 | 19 | 387,341 | $ 406,522 |

 

STATUS OF POSTPETITION TAXES

 

BEGINNING AMOUNT ENDING
TAX WITHHELD AMOUNT TAX
FEDERAL LIABILITY | OR ACCRUED PAID LIABILITY

. WITHHOLDING

. FICA-EMPLOYEE

. FICA-EMPLOYER

. UNEMPLOYMENT

. INCOME

. OTHER (ATTACH LIST)
. TOTAL FEDERAL TAXES $ : $ : $ :
STATE AND LOCAL
8. WITHHOLDING $ ”
9. SALES

10. EXCISE

11. UNEMPLOYMENT

12, REAL PROPERTY

13. PERSONAL PROPERTY
14, OTHER (ATTACH LIST)
15, TOTAL STATE & LOCAL $ -
16. TOTAL TAXES $ . $ $ -

 

 

 

 

69158 | 68155

 

 

 

YN | GaP pp Bo | ee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

8 | 56 129 159 164] Ge | oe | 69 | 62] 65 | 69] oe | 69 | 65756154) 66
'

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 6 of 9

 

 

 

CASE NAME:

Rincon Island Limited Partnership

 

 

 

 

 

 

Monthly Operating Report

Accrual Basis - 5

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE NUMBER: 16-33174-bhdh-11
BANK RECONCILIATIONS
Acct #1 Acct #2 Acct #3
A. BANK: TB&T
B. ACCOUNT NUMBER: 9683 TOTAL
C. PURPOSE (TYPE): Genera! Checking
1. BALANCE PER BANK STATEMENT $ 116,880 § 116,880
2, ADD: TOTAL DEPOSITS NOT CREDITED $ :
3. SUBTRACT: OUTSTANDING CHECKS $ - $ -
4. OTHER RECONCILING ITEMS $ "
5. MONTH END BALANCE PER BOOKS $ 116,880 $ - $ 116,880
6. NUMBER OF LAST CHECK WRITTEN 1004

 

ACCOUNTS

K, ACCOUNT NAME & NUMBER

7.
8

9.
10.
11. TOTAL INVESTMENTS

 

 

DATE OF
PURCHASE

TYPE OF
INSTRUMENT

PURCHASE
PRICE

 

 

 

 

 

113. TOTAL CASH - END OF MONTH

CASH
12. CURRENCY ON HAND L$ - |
[$116,880 |

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 7 of 9

 

 

Monthly Operating Report

Accrual Basis - 6

 

Rincon Island Limited Partnership

    
 

 

 

 

 

CASE NUMBER: 16-33174-hdh-11

 

MONTH: October

 

PAYMENTS TO INSIDERS AND PROFESSIONALS ]

INSIDERS
TYPE OF PAYMENT AMOUNT PAID | FTL PD TO DATE

AL PAYMENTS TO INSIDERS

PROFESS
DATE OF COURT ORDER AMOUNT AMOUNT TTL PAID TOTAL INCURRED
AUTHORIZING PAYMENT APPROVED PAID TO DATE & UNPAID

‘AL PAYMENTS TO PROFESSIONALS

 

 

}POSTPETITION STATUS OF SECURED NOTES, LEASES PAYABLE AND ADEQUATE PROTECTION PAYMENTS |

SCHEDULED AMOUNTS TOTAL
MONTHLY PAID UNPAID
NAME OF CREDITOR PAYMENTS BURING POST-
DUE MONTH PETITION

 

 

 
Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 8 of 9

 

 

Monthly Operating Report

Accrual Basis - 7

2017

 

CASE NAME: Rincon Island Limited Partnership

 

  

 

16-33 174-hdh-11

QUESTIONNAIRE |

1. HAVE ANY ASSETS BEEN SOLD OR TRANSFERRED OUTSIDE
THE NORMAL COURSE OF BUSINESS THIS REPORTING PERIOD?

2. HAVE ANY FUNDS BEEN DISBURSED FROM ANY ACCOUNT
OTHER THAN A DEBTOR IN POSSESSION ACCOUNT?

3. ARE ANY POSTPETITION RECEIVABLES (ACCOUNTS, NOTES OR
LOANS} DUE FROM RELATED PARTIES?

4, HAVE ANY PAYMENTS BEEN MADE ON PREPETITION LIABILITIES
THIS REPORTING PERIOD?

5. HAVE ANY POSTPETITION LOANS BEEN RECEIVED BY THE
DEBTOR FROM ANY PARTY?

6. ARE ANY POSTPETITION PAYROLL TAXES PAST DUE?

7. ARE ANY POSTPETITION STATE OR FEDERAL INCOME TAXES
PAST DUE?

8. ARE ANY POSTPETITION REAL ESTATE TAXES PAST DUE? x

9. ARE ANY OTHER POSTPETITION TAXES PAST DUE? x

10. ARE ANY AMOUNTS GWED TO POSTPETITION CREDITORS
DELINQUENT?

Il. HAVE ANY PREPETITION FAXES BEEN PAID DURING THE
REPORTING PERIOD?

12. ARE ANY WAGE PAYMENTS PAST DUE?

CASE NUMBER:

 

 

 

 

MONTH: October

 

YES NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "YES", PROVIDE A DETAILED
EXPLANATION OF BACH IFEM. ATTACH ADDITIONAL SHEETS IF NECESSARY.

 

 

 

INSURANCE

1. ARE WORKER'S COMPENSATION, GENERAL LIABILITY AND OTHER
NECESSARY INSURANCE COVERAGES IN EFFECT?

2. ARE ALL PREMIUM PAYMENTS PAID CURRENT? x
3. PLEASE ITEMIZE POLICIES BELOW :

 

YES NO

 

 

 

 

 

 

 

 

 

IF THE ANSWER TO ANY OF THE ABOVE QUESTIONS IS "NO* OR IF ANY POLICIES HAVE
BEEN CANCELED OR NOT RENEWED DURING THIS REPORTING PERIOD, PROVIDE AN
EXPLANATION BELOW. ATTACH ADDITIONAL SHEETS [IF NECESSARY.

 

 

 

INSTALLMENT PAYMENTS
TYPE OF PERIOD PAYMENT AMOUNT

POLICY CARRIER COVERED &

 

 

 
 

Case 16-33174-hdh11 Doc 336 Filed 12/04/17 Entered 12/04/17 14:59:08 Page 9 of 9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Operating Report
Accrual Basis - 1
CASE NAME: Rincon Island Limited Partnership
CASE NUMBER: 16-33174-hdh-E1
ATTACHMENT
August2017 | September 2017 | October 2017 |
OTHER ASSETS (ATTACH LIST)
15 Escrow Fund $ £057,835 | $ 1,057,835 | $ 1,057,835
15 Performance Bond $ 3,292,100 | $ 3,292,100 | $ 3,292,100
LS Prepayments $ 1,671 | $ 1,675 | $ 1,671
15 TOTAL OTHER ASSETS $ 4,351,606 | $ 4,351,606 | $ 4,351,606
OTHER LIABILITES (ATTACH LIST)
22 Accrued Wages/Interest/Faxes $ - $ - $ -
22 Capitalized Loan Interest $ 9,320,732 | $ 9,820,732 | $ 9,820,732
22 Due Affiliate - Loan Adjustment $ 14,739,474 | $ 14,739,474 § 3 14,739,474
22 Due Affiliate $ 5,794,917 | 3 5,802,269 | $ 5,802,269
22 Accrued Property Taxes $ 10,272 | $ 10,272 § $ 10,272
22. UBS Loan/Funding $ 185,263 | $ 342,676 | $ 425,000
22 Royalties Payable $ 33,796 | $ 39,512 | $ 46,035
22 TOTAL OTHER LIABILITES $ 30,584,453 | $ 30,754,935 | $ 30,843,783
OPERATING EXPENSE - OTHER
13 General Operating
13 Property & Payroll Taxes
13 Other
13 TOTAL OPERATING EXPENSES - OTHER $ : $ 7 $ -
OTHER INCOME & EXPENSES
16 Rents/Bond Increase(Decrease} $ 331114 - $ 6,623
16 Accounts Receivable Adjustments
21 Income Tax 3 :
16 OTHER INCOME & EXPENSES $ 3,311 75 - $ 6,623
NON-OPERATING RECEIPTS
6 Inter-Company Advance / Notes Payable $ 185,263 | $ 157,414 | $ $2,324
8 Vendor Refind/Other $ 647 | $ - $ -
8 Rents $ 3,341} $ - $ 6,623
10 TOTAL RECEIPTS $ 189,221 | $ 157,414 15 88,947
OPERATING DISBURSEMENTS
25 Lease Improvements
25 Employee Benefits
25 Outside Services
25 Royalty Payments
25 Other
25 OTHER $ : $ - $ .
DIRECT CHARGES TO EQUITY
32 Adjust Bond Value in Accordance with GAAP $ 269,650 | $ 269,650 | $ 269,650
32 Adjust for Prior Period Corrections/Estimations $ 146,059 | $ 146,059 | $ 146,059
32 Under Reported Prepetition Liabilites-Related Party $ (3,602,348); $ (3,602,348)| $ (3,602,348)
32 Reclassified OPEX as Capital Asset $ 436,293 | $ 436,293 | $ 436,293
32 Adjust InterCo Loan to Actual $  (14,739,474)| $ _(14,739,474)| $ (14,739,474)
32 BDO 2016 Audit Adjustment $ (486,751)} $ (486,751)] $ (486,751)
32 TOTAL DIRECT CHARGES TO EQUITY § (17,976,571), $ (17,976,571) $ (17,976,571)

 

 

 

 

 

 

 
